 Case 1:24-cv-00008-DAE Document 49 Filed 03/02/24 Page 1 of 3

                                                                                FILED
                                                                           March 02, 2024

        United States Court of Appeals
                                                                       CLERK, U.S. DISTRICT COURT
                                                                       WESTERN DISTRICT OF TEXAS

                                                                                         klw
             for the Fifth Circuit
                                                                   BY: ________________________________
                                                                                           DEPUTY
                                                                 United States Court of Appeals
                             ___________                                  Fifth Circuit

                                                                        FILED
                              No. 24-50149                          March 2, 2024
                             ___________                           Lyle W. Cayce
                                                                        Clerk
United States of America,

                                                        Plaintiff—Appellee,

                                  versus

State of Texas; Greg Abbott, in his official capacity as Governor of
Texas; Texas Department of Public Safety; Steven C.
McCraw, in his official capacity as Director of Texas Department of Public
Safety,

                                                   Defendants—Appellants,

____________________________

Las Americas Immigrant Advocacy Center; American
Gateways; County of El Paso, Texas,

                                                      Plaintiffs—Appellees,

                                  versus

Steven C. McCraw, in his official capacity as Director of the State of
Texas Department of Public Safety,

                                                     Defendant—Appellant.
    Case 1:24-cv-00008-DAE Document 49 Filed 03/02/24 Page 2 of 3
                                      No. 24-50149




                  ______________________________

                  Appeal from the United States District Court
                       for the Western District of Texas
                          USDC No. 1:24-CV-8 DAE
                        USDC No. 1:23-CV-1537 DAE
                  ______________________________

                           UNPUBLISHED ORDER

Before Clement, Engelhardt, and Ramirez, Circuit Judges.
Per Curiam: *
        IT IS ORDERED that a temporary administrative stay is
GRANTED. The Appellees’ request to stay the temporary administrative
stay for seven days following the date hereof pending an application to the
Supreme Court of the United States is GRANTED.
        IT IS FURTHER ORDERED that this appeal is EXPEDITED
to the next available Oral Argument Calendar.
        IT IS FURTHER ORDERED that Appellants’ opposed motion
for a stay pending appeal is deferred to the oral argument merits panel that
receives this case.




*
 Judge Ramirez would not grant a temporary administrative stay and would defer the question
to the oral argument merits panel that receives this case.




                                             2
        Case 1:24-cv-00008-DAE Document 49 Filed 03/02/24 Page 3 of 3




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                              March 02, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50149     USA v. State of Texas
                       USDC No. 1:24-CV-8
                       USDC No. 1:23-CV-1537

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Christina C. Rachal, Deputy Clerk
                                  504-310-7651
Ms. Munera Al-Fuhaid
Mr. Spencer Amdur
Mr. Anand Balakrishnan
Mr. Maxwell A. Baldi
Ms. Jo Anne Bernal
Mr. Brian Boynton
Mr. Philip Devlin
Ms. Heather Lee Dyer
Ms. Tamara Goodlette
Mr. Daniel Hatoum
Ms. Amy Snow Hilton
Ms. Kateland R. Jackson
Mr. Omar C. Jadwat
Ms. Jean Lin
Mr. Joseph N. Mazzara
Mr. Aaron Lloyd Nielson
Mr. Leif Eric Overvold
Ms. Adriana Cecilia Pinon
Mr. Jacob Przada
Mr. Samuel M. Shapiro
Mr. Kyle Tebo
Mr. Daniel Bentele Hahs Tenny
Mr. Ryan Daniel Walters
Mr. Coy Allen Westbrook
Mr. Cody Wofsy
